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                           UNITED STATES DISTRICT COURT
                               DISTRICT OF MARYLAND
JUNE KIM
13126 Lazy Glen Ct
Herndon, VA 20171,
individually and on behalf of all others similarly
situated,

           Plaintiff,                                CIVIL ACTION NO. ____________
v.

AMERICAN SOCIETY OF HEALTH-SYSTEM                    COMPLAINT—CLASS ACTION
PHARMACISTS, INC.;
4500 East West Highway, Suite 900
Bethesda, Maryland 20814                             (JURY TRIAL DEMANDED)
Montgomery County,

       Serve on:
       Registered Agent
       The Corporation Trust, Inc.
       2405 York Road, Suite 201
       Lutherville Timonium
       Maryland 21093
       Baltimore County,

NATIONAL MATCHING SERVICES INC.
20 Holly Street, #301
Toronto, Ontario, Canada M4S 3B1,

ALLEGHENY HEALTH NETWORK, D/B/A
ALLEGHENY GENERAL HOSPITAL
120 Fifth Ave., Suite 2900
Pittsburgh, PA 15222,

ASCENSION HEALTH
4600 Edmundson Rd
St. Louis, MO 63134,

        Serve on:
        Registered Agent:
        CSC-Lawyers Incorporating Service
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     Company
     221 Bolivar St.
     Jefferson City, MO 65101,


KAISER PERMANENTE
1 Kaiser Plaza
Oakland, CA 94612,

     Serve on:
     Becky DeGeorge
     2710 Gateway Oaks Drive
     Sacramento, CA 95833,

LEESBURG REGIONAL MEDICAL CENTER,
INC. D/B/A UF HEALTH CENTRAL FLORIDA
600 E. Dixie Avenue
Leesburg, Florida 34748,

      Serve on:
      Registered Agent
      Philip J. Braun
      715 West Oak Terrace Drive
      Leesburg, Florida 34748,

NORTHWESTERN MEMORIAL HOSPITAL
251 East Huron Street
Chicago, Illinois 60611,

      Serve on:
      Registered Agent
      Julia K. Lynch
      211 E. Ontario Street, Suite 1800
      Chicago, IL 60611,

REGENTS OF THE UNIVERSITY OF
CALIFORNIA
1111 Franklin St., 12th floor
Oakland, CA 94607,

      Serve on:
      Registered Agent:
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     Individual Service
     may be made at the University
     1111 Franklin Street 8th Floor,


RUSH UNIVERSITY MEDICAL CENTER
1653 West Congress Parkway
Chicago, Illinois 60612,

     Serve on:
     Registered Agent
     Carl Bergetz
     1700 W. Van Buren Street, Suite 301
     Chicago, Illinois 60612,

THE CLEVELAND CLINIC FOUNDATION,
D/B/A CLEVELAND CLINIC
9500 Euclid Ave
Cleveland, OH 44195,

     Serve on:
     Registered Agent:
     CT Corporation System
     4400 Easton Commons Way, Suite 125
     Columbus, OH 43219,

THE JOHNS HOPKINS HOSPITAL
1800 Orleans Street
Baltimore, Maryland 21202,

     Serve on:
     CSC-Lawyers Incorporating Service
     Company
     7 St. Paul Street
     Suite 820
     Baltimore, MD 21202,

THE METHODIST HOSPITAL D/B/A
HOUSTON METHODIST HOSPITAL
6565 Fannin Street
Houston, Texas 77030,
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      Serve on:
      Registered Agent
      C T Corporation System
      1999 Bryan Street, Suite 900
      Dallas, Texas 75201,
THE NEMOURS FOUNDATION
10140 Centurion Parkway North
Jacksonville, FL 32256,

      Serve on:
      CT Corporation System
      1200 S Pine Island Rd
      Planation, FL 33324,

THE NEW YORK AND PRESBYTERIAN
HOSPITAL D/B/A NEW YORK
PRESBYTERIAN HOSPITAL
525 East 68th Street
New York, New York 10021,

      Serve on:
      New York Secretary of State
      One Commerce Plaza
      99 Washington Avenue
      Albany, New York 12231,

THE QUEEN’S HEALTH SYSTEMS
1301 Punchbowl Street
Honolulu, Hawaii 96813,

      Serve on:
      Registered Agent
      John S. Nitao
      1301 Punchbowl Street
      Honolulu, Hawaii 96813,

THE UNIVERSITY OF CHICAGO MEDICAL
CENTER
5841 South Maryland Avenue
Chicago Illinois, 60637,

      Serve on:
      Registered Agent
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       Rachel Spitz
       5841 South Maryland
       Chicago, Illinois 60637,


TRUSTEES OF THE UNIVERSITY OF
PENNSYLVANIA, D/B/A MEDICAL CENTER-
HOSPITAL OF THE UNIVERSITY OF
PENNSYLVANIA
3451 Walnut Street
Room 310
Philadelphia, Pennsylvania 19104,

and

UPMC PRESBYTERIAN SHADYSIDE
200 Lothrop Street
Pittsburgh, Pennsylvania 15312

       Serve on:
       J. Matthew Gilmore
       21 Prospect Sq.
       Cumberland, MD 21502

         Defendants.
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       Plaintiff June Kim, individually and on behalf of all others similarly situated (the “Class,”

as defined below), complains and alleges as follows based on personal knowledge as to herself,

the investigation of counsel, and information and belief as to all other matters, and demands trial

by jury. Plaintiff believes that substantial evidentiary support will exist for the allegations in this

complaint, after a reasonable opportunity for discovery.

                                    NATURE OF THE CASE

       1.      This case is about upholding the rights of recent pharmacy school graduates to

obtain employment as resident pharmacists through a system of fair competition.

       2.      Competition for labor is a foundational premise of the free market economy. It

allows working people to compare offers between prospective employers, negotiate improved

terms of employment, and change jobs when better opportunities arise.

       3.      It is also guaranteed by law. Under the Sherman Antitrust Act, employers must

compete to attract employees.

       4.      Agreements between employers not to compete for employees’ labor are thus

strictly prohibited.   This includes: (1) agreements not to hire one another’s employees;

(2) agreements which fix, standardize, or suppress the compensation received by employees;

(3) agreements to allocate labor inputs; (4) agreements to boycott certain potential employees; and

(5) agreements to exchange competitively sensitive information pertaining to the relevant labor

market.
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       5.      The Defendants in this case are a consortium of organizations that have illegally

subverted the system of free competition in the labor market for resident pharmacists. Instead of

competing to hire resident pharmacists and allowing these individuals to negotiate better terms of

employment and move between employers as they wish, Defendants have designed and agreed to

participate in a system that intentionally suppresses competition by forcing all suchindividuals to

apply for employment through a system called the ASHP Resident Matching Program (the “ASHP

Match”).

       6.      The ASHP Match eliminates the prospective employees’ ability to negotiate over

the terms of employment they are offered, prohibits them from moving between employers after

they are hired, bars them from applying for pharmacy residency positions outside of the ASHP

Match, and polices compliance with its own rules.

       7.      The ASHP Match is an anti-competitive agreement between virtually every

employer of resident pharmacists in the United States, as well as National Matching Services, Inc.,

and the American Society of Health-System Pharmacists, Inc.

       8.      The employers and institutions comprising the ASHP Match – which include the

Employer Defendants (defined below) and their co-conspirators – further conspire to suppress, fix,

stabilize, and standardize the compensation of pharmacy residents by exchanging competitively

sensitive compensation information regarding residents’ salaries and other employment benefits.

       9.      As a result of this anti-competitive conspiracy, generations of resident pharmacists

have suffered from artificially suppressed wages and employment benefits while remaining unable

to improve their working conditions.

       10.     Plaintiff brings this action, individually and on behalf of the proposed Class defined

below, to redress and put a stop to this illegal conspiracy in restraint of trade.




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                                              PARTIES

   I.          Plaintiff

         11.      Plaintiff June Kim is a natural person and a resident of Virginia. Plaintiff Kim was

employed as a pharmacy resident by Nemours Children’s Hospital, Delaware, beginning on or

about June 13, 2022. Ms. Kim obtained her pharmacy resident position with Nemours Children’s

Hospital, Delaware – which is operated and owned by Defendant The Nemours Foundation –

through the ASHP Match. Ms. Kim’s annual salary during her residency with Nemours Children’s

Hospital, Delaware was $54,000.

   II.         Defendants

         12.      Defendant American Society of Health-System Pharmacists, Inc. (“ASHP”) is a

professional organization that represents pharmacists.           Defendant ASHP is a Maryland

corporation, and its principal office is located at 4500 East-West Highway, Suite 900, Bethesda,

Maryland 20814. Defendant ASHP has nearly 60,000 members, including pharmacists in every

state and the District of Columbia. Defendant ASHP sponsors, administers, and operates the

ASHP Match, and is responsible for establishing the rules of the ASHP Match and monitoring its

implementation.

         13.      Defendant National Matching Services Inc. (“NMS”) is a Canadian business

corporation. NMS is incorporated in Ontario, Canada, and its principal office is located at 20

Holly Street, Suite 301, Toronto, Ontario, Canada M4S 3B1. Defendant NMS assists in the

administration of the ASHP Match on behalf of Defendant ASHP and co-conspiring employers

(including the Employer Defendants below) of resident pharmacists.




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         14.   Defendant Allegheny Health Network, d/b/a Allegheny General Hospital (“AGH”)

is a Pennsylvania not-for-profit corporation, and its principal office is located at 120 Fifth Ave,

Suite 2900, Pittsburgh, Pennsylvania 15222. Throughout the relevant time period, Defendant

AGH has participated in the ASHP Match, entered into agreements to adhere to rules of the ASHP

Match, and hired pharmacy residents through the ASHP Match.

         15.   Defendant Ascension Health Alliance (“Ascension”) is a Missouri corporation, and

its principal office is located at 4600 Edmundson Rd St. Louis, MO 63134. Defendant Ascension

operates hospitals and senior living facilities in 19 states and Washington D.C. Throughout the

relevant time period, Defendant Ascension has participated in the ASHP Match, entered into

agreements to adhere to rules of the ASHP Match, and hired pharmacy residents through the ASHP

Match.

         16.   Defendant Kaiser Permanente (“Kaiser”), a consortium of for-profit and not-for-

profit entities, and its principal office is located at 1 Kaiser Plaza, Oakland, CA 94612. Defendant

Kaiser operates hospitals and medical offices in eight states and Washington D.C. Throughout the

relevant time period, Defendant Kaiser has participated in the ASHP Match, entered into

agreements to adhere to rules of the ASHP Match, and hired pharmacy residents through the ASHP

Match.

         17.   Defendant Leesburg Regional Medical Center, Inc. d/b/a UF Health Central Florida

(“UF Health Central Florida”) is a Florida not-for-profit corporation, and its principal office is

located at 600 E. Dixie Avenue, Leesburg, Florida 34748. Throughout the relevant time period,

Defendant UF Health Central Florida has participated in the ASHP Match, entered into agreements

to adhere to rules of the ASHP Match, and hired pharmacy residents through the ASHP Match.




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         18.   Defendant Northwestern Memorial Hospital (“Northwestern”) is an Illinois not-for-

profit corporation, and its principal office is located at 251 East Huron Street, Chicago, Illinois

60611. Throughout the relevant time period, Defendant Northwestern has participated in the

ASHP Match, entered into agreements to adhere to rules of the ASHP Match, and hired pharmacy

residents through the ASHP Match.

         19.   Defendant Regents of the University of California (“University of California”) is a

body having corporate powers under the Constitution and laws of the State of California. The

University of California is a public corporation organized into different campuses, laboratories and

corporate headquarters and is located at 1111 Franklin St., 12th floor, Oakland, CA 94607. It

operates 10 campuses, 5 medical centers, and 3 national laboratories, employing over 227,000

faculty and staff. Included within its system are affiliated hospitals such as Marin Health. Among

others, its medical campuses include UCLA, UCSF, UCI, and UCSB. Throughout the relevant

time period, Defendant University of California has participated in the ASHP Match, entered into

agreements to adhere to rules of the ASHP Match, and hired pharmacy residents through the ASHP

Match.

         20.   Defendant Rush University Medical Center (“Rush”) is an Illinois not-for-profit

corporation, and its principal office is located at 1653 West Congress Parkway, Chicago, Illinois

60612. Throughout the relevant time period, Defendant Rush has participated in the ASHP Match,

entered into agreements to adhere to rules of the ASHP Match, and hired pharmacy residents

through the ASHP Match.

         21.   Defendant The Cleveland Clinic Foundation, d/b/a The Cleveland Clinic

(“Cleveland Clinic”) is an Ohio nonprofit corporation, and its principal office is located at 9500

Euclid Ave, Cleveland, OH 44195. It runs a main campus in Cleveland, as well as 14 affiliated




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hospitals and 20 family health centers in Northeast Ohio. Throughout the relevant time period,

Defendant Cleveland Clinic has participated in the ASHP Match, entered into agreements to

adhere to rules of the ASHP Match, and hired pharmacy residents through the ASHP Match.

       22.     Defendant The Johns Hopkins Hospital (“Johns Hopkins”) is a Maryland

corporation, and its principal office is located at 1800 Orleans Street, Baltimore, Maryland 21202.

Throughout the relevant time period, Defendant Johns Hopkins has participated in the ASHP

Match, entered into agreements to adhere to rules of the ASHP Match, and hired pharmacy

residents through the ASHP Match.

       23.     Defendant The Methodist Hospital d/b/a Houston Methodist Hospital (“Houston

Methodist”) is a Texas corporation, and its principal office is located at 6565 Fannin Street,

Houston, Texas 77030. Throughout the relevant time period, Defendant Houston Methodist has

participated in the ASHP Match, entered into agreements to adhere to rules of the ASHP Match,

and hired pharmacy residents through the ASHP Match.

       24.     Defendant The Nemours Foundation (“Nemours”) is a Florida nonprofit

corporation, and its principal office is located at 10140 Centurion Parkway North, Jacksonville,

FL 32256. Nemours operates two hospitals: the Nemours Children’s Hospital, Delaware and the

Nemours Children’s Hospital, Florida. Throughout the relevant time period, Defendant Nemours

has participated in the ASHP Match, entered into agreements to adhere to rules of the ASHP

Match, and hired pharmacy residents through the ASHP Match.




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         25.   Defendant The New York and Presbyterian Hospital d/b/a New York Presbyterian

Hospital (“New York Presbyterian”) is a New York not-for-profit corporation, and its principal

office is located at 630 West 168th Street, New York, New York 10032. Throughout the relevant

time period, Defendant New York Presbyterian has participated in the ASHP Match, entered into

agreements to adhere to rules of the ASHP Match, and hired pharmacy residents through the ASHP

Match.

         26.   Defendant The Queen’s Health Systems (“Queen’s Health Systems”) is a Hawaii

nonprofit corporation, and its principal office is located at 1301 Punchbowl Street, Honolulu,

Hawaii 96813. Defendant Queen’s Health Systems operates hospitals and outpatient centers

across the Hawaii islands. Throughout the relevant time period, Defendant Queen’s Health

Systems has participated in the ASHP Match, entered into agreements to adhere to rules of the

ASHP Match, and hired pharmacy residents through the ASHP Match.

         27.   Defendant The University of Chicago Medical Center (“UCMC”) is an Illinois not-

for-profit corporation, and its principal office is located at 5841 South Maryland Avenue, Chicago,

Illinois 60637. Throughout the relevant time period, Defendant UCMC has participated in the

ASHP Match, entered into agreements to adhere to rules of the ASHP Match, and hired pharmacy

residents through the ASHP Match.

         28.   Defendant Trustees of the University of Pennsylvania, d/b/a University of

Pennsylvania Medical Center-Hospital of the University of Pennsylvania (“Hospital of the

University of Pennsylvania”) is a Pennsylvania corporation, and its principal office is located at

3451 Walnut Street, Room 310, Philadelphia, Pennsylvania 19104. Throughout the relevant time

period, Defendant Hospital of the University of Pennsylvania has participated in the ASHP Match,




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entered into agreements to adhere to rules of the ASHP Match, and hired pharmacy residents

through the ASHP Match.

       29.     Defendant UPMC Presbyterian Shadyside (“UPMC Presbyterian”) is a

Pennsylvania corporation, and its principal office is located at 200 Lothrop Street, Pittsburgh,

Pennsylvania 15212. Throughout the relevant time period, Defendant UPMC Presbyterian has

participated in the ASHP Match, entered into agreements to adhere to rules of the ASHP Match,

and hired pharmacy residents through the ASHP Match.

       30.     Defendants UF Health Central Florida, UPMC Presbyterian, Hospital of the

University of Pennsylvania, AGH, Rush, UCMC, Northwestern, Houston Methodist, New York

Presbyterian, Johns Hopkins, Queen’s Health Systems, Ascension, Kaiser, University of

California, the Cleveland Clinic, and Nemours, are referred to throughout this Complaint as the

“Employer Defendants.”

       31.     Various other institutions and individuals, known and unknown to Plaintiff at this

time, participated as co-conspirators in the acts complained of, performed acts, and made

statements that aided and abetted and were in furtherance of the unlawful conduct alleged in this

Complaint.

                                 JURISDICTION AND VENUE

       32.     Plaintiff brings this action pursuant to Sections 4 and 16 of the Clayton Act, 15

U.S.C. §§15 and 26, to obtain injunctive relief and recover damages, including treble damages,

costs of suit, and reasonable attorneys’ fees, to redress the injuries sustained by the Plaintiff and

the members of the Class as a result of the Defendants’ violations of Section 1 of the Sherman Act,

15 U.S.C. §1, as alleged in this Complaint.




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       33.     Personal jurisdiction exists over all Defendants pursuant to §12 of the Clayton Act,

15 U.S.C. §22 and Maryland’s long-arm statute, Md. Code, Cts. & Jud. Pro. §6-103.

       34.     This Court has subject matter jurisdiction pursuant to 28 U.S.C §1331 and 28

U.S.C. §1337. This Court also has subject matter jurisdiction pursuant to 28 U.S.C. §1332(d)

because this is a class action in which the matter in controversy exceeds the sum or value of

$5,000,000, exclusive of interest and costs, and in which some members of the proposed class are

citizens of a state different from any Defendant.

       35.     Venue is proper in this District pursuant to Section 12 of the Clayton Act, 15 U.S.C.

§22, and 28 U.S.C. §§1391(b) and (c). Each Defendant maintains offices, has representatives, may

be found, and/or transacts business within this District within the meaning of Section 12 of the

Clayton Act, 15 U.S.C. §22. A substantial portion of the interstate trade and commerce described

below has been carried out in this District.

       36.     Personal jurisdiction and venue are also proper in this District because each

Defendant illegally contracts, combines, and conspires with persons and entities that have

committed, and continue to commit, overt acts within this District in furtherance of the illegal

contract, combination, and conspiracy alleged in this Complaint.

                                  FACTUAL ALLEGATIONS

       37.     Each Defendant contracts, combines, and conspires to restrain competition in the

recruitment, hiring, employment, and compensation of resident pharmacists for the purpose and

with the effect of depressing, standardizing, and stabilizing the salaries and other employment

benefits received by resident pharmacists.




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   I.         Pharmacists’ Education and Employment

        38.      Every year, thousands of people graduate from colleges of pharmacy across the

United States. Upon graduation from a college of pharmacy, pharmacy students earn a Doctor of

Pharmacy degree, which is often abbreviated as “PharmD.”

        39.      Pharmacists are not medical doctors. Individuals seeking to become pharmacists

attend colleges of pharmacy rather than medical schools. Colleges of pharmacy do not train

physicians, and their graduates receive Doctor of Pharmacy degrees rather than medical degrees

(e.g., Doctor of Medicine or Doctor of Osteopathic Medicine). At each university in the country

that operates both a college of pharmacy and a medical school, the administration, curriculum,

instructors, student body, and clinical programs of the college of pharmacy are separate and

distinct from those of the medical school. Colleges of pharmacy are accredited solely by the

Accreditation Counsel for Pharmacy Education—and the Liaison Committee on Medical

Education, which accredits medical schools, does not accredit colleges of pharmacy.

        40.      Doctor of Pharmacy graduates must pass the North American Pharmacist Licensure

Examination before they are allowed to practice in the United States. State boards of pharmacy

specify additional licensure requirements.

        41.      In assessing their employment opportunities before graduating, soon-to-be

pharmacists must decide whether to pursue a pharmacy residency.

        42.      A pharmacy residency is a one-year employment program pursued by some

pharmacists following their graduation from a college of pharmacy. Completing a pharmacy

residency enables pharmacists to develop additional clinical skills.      Residencies are also

understood to open additional career pathways beyond traditional retail pharmacy.




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         43.     A residency is not required to practice as a pharmacist generally. However,

residency experience is required to obtain certain types of employment as a pharmacist. For

example, pharmacists can only obtain positions in various specialized fields of pharmacy (e.g.,

infectious disease, ambulatory care, emergency medicine, oncology, and solid organ transplant)

after finishing a residency. Additionally, obtaining a job as a pharmacist in a hospital or other

clinical setting typically requires residency experience. The same is true for instructional positions

at colleges of pharmacy.

         44.     Board certification is available for pharmacists in certain specialty areas.

Completing a residency accelerates a pharmacist’s eligibility for the certification exams. One

requirement to qualify for the board exams is either one year of residency experience or more than

three years of practical experience.

         45.     However, the market for employment of pharmacy residents is restrained by an

anti-competitive conspiracy between virtually every employer of pharmacy residents.              This

conspiracy intentionally suppresses competition for the employment of pharmacy residents and,

in doing so, significantly depresses the wages and other employment benefits received by

pharmacy residents.

   II.         ASHP Resident Matching Program

         46.     The anti-competitive conspiracy that restrains competition for the employment of

pharmacy residents and suppresses their compensation is called the ASHP Resident Matching

Program (the “ASHP Match”).

         47.     Defendant ASHP sponsors the ASHP Match. Defendant ASHP establishes the

rules which govern the ASHP Match, regulates the residency programs participating in the ASHP




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Match, monitors and polices compliance with the rules, and generally coordinates the conspiracy

known as the ASHP Match.

       48.     Defendant ASHP sponsors, operates, and administers the ASHP Match from and

within its headquarters located in Bethesda, Maryland.

       49.     Defendant ASHP also provides accreditation to pharmacy residency programs.

Defendant ASHP is the only nationally recognized body for accreditation of pharmacy residencies.

       50.     Pharmacists who attend unaccredited residency programs do not receive the same

career and reputational benefits as those attending an accredited program. Accordingly, ASHP

accreditation is a de facto requirement for residency programs. Less than ten percent of all

pharmacy residency positions offered by employers in the United States at any given time relevant

to this action were offered by programs not accredited by Defendant ASHP. Consequently,

pharmacy residency programs without ASHP accreditation are less desirable to graduates of

colleges of pharmacy than pharmacy residency programs with ASHP accreditation.

       51.     Defendant ASHP requires every residency program accredited by it to offer all

residency positions exclusively through the ASHP Match. Exceptions to this rule constitute less

than ten percent of all pharmacy residency positions offered by employers in the United States at

any given time relevant to this action.

       52.     Pharmacists seeking employment with an accredited residency program must do so

through the ASHP Match.        In order to register for the ASHP Match, pharmacists submit

applications using Defendant ASHP’s application portal, the Pharmacy Online Residency

Centralized Application Service (“PHORCAS”). In this system, the applicants rank the pharmacy

programs where they wish to obtain employment in order from most desirable to least desirable.

These ranked selections are referred to as a “Rank Order List.”




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       53.    Defendant ASHP requires both the residency programs and pharmacists

participating in the ASHP Match to agree to rules which restrain competition for the employment

of pharmacy residents.

       54.    Defendant ASHP contracts with Defendant NMS to administer the ASHP Match.

Residency programs seeking to participate in the ASHP Match must register on a website operated

by Defendant NMS (https://natmatch.com/ashprmp/). Using this website, the residency programs

rank the applicants they wish to employ from most desirable to least desirable. The residency

programs then submit their Rank Order List to Defendant NMS.

       55.    Defendant NMS receives the Rank Order Lists for both the applicants and the

employer residency programs. It then runs an algorithm over the ranked choices of both the

programs and the applicants. The results of the algorithm determine which applicants are matched

to which programs.

       56.    The results of the ASHP Match are contractually binding upon both the residency

programs and the pharmacist applicants.

       57.    Defendant ASHP imposes penalties on any ASHP Match participant who breaks

the terms of their agreement to accept the placements generated by the ASHP Match or otherwise

violates the rules governing the program.

       58.    For example, pharmacists who do not accept employment with the residency

program to which they are assigned by the ASHP Match may be banned from re-applying for the

ASHP Match.

       59.    Defendant ASHP has banned applicants from participating in the ASHP Match as

a penalty for not accepting employment at the residency program to which they were assigned by

the ASHP Match.




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       60.     Defendant ASHP hosts the members of the conspiracy at annual meetings such as

the ASHP Midyear Clinical Meeting and the National Pharmacy Preceptors Conference, as well

as related working groups, committees, and subcommittees associated with each meeting.

       61.     Defendant ASHP regularly hosts Residency Program Design and Conduct

workshops attended by the members of the conspiracy.

       62.     Defendant ASHP publishes a guide entitled “How to Start a Residency Program.”

This guide is directed towards pharmacy operators who are considering starting a residency

program. Among other purported benefits to pharmacy operators, the “How to Start a Residency

Program” guide touts the cost-savings associated with employing pharmacy residents. It states:

“Splitting one pharmacist position into two residency positions will usually yield leftover dollars.”1

       63.     The requirements and rules governing the relationships between the individual

pharmacists and entities involved in the ASHP Match are formalized in a series of agreements

between Defendants and their co-conspirators.

       64.     Defendants contract, combine, and conspire in these ways with the purpose and

effect of depressing, standardizing, and stabilizing the salaries and other employment benefits

received by resident pharmacists.

       65.     Defendants further use their dominant position in the relevant market defined below

to require pharmacists wishing to obtain employment in an accredited residency program to enter

into anti-competitive agreements as a condition of their participation in the ASHP Match.

               A.      ASHP Regulations on Accreditation of Pharmacy Residencies

       66.     Defendant ASHP plays a central role in the ASHP Match conspiracy.



1
  ASHP, HOW TO START A RESIDENCY PROGRAM, 4 (2015), https://www.ashp.org/-/media/assets/professional-
development/residencies/docs/how-to-start-residency-what-you-really-need-to-know.pdf.




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        67.      ASHP recruits new members into the conspiracy through its accreditation program

and associated regulations.

        68.      ASHP is the nation’s only nationally recognized accrediting body for pharmacy

residency programs. ASHP’s “How to Start a Residency Program” guide states: “Accreditation of

pharmacy residencies is currently provided exclusively by ASHP through their Commission on

Credentialing.”2

        69.      As noted above, without an ASHP accreditation, pharmacy residency programs

struggle to survive. They attract fewer and less competitive applicants and their participants enjoy

fewer reputational and career benefits than pharmacists who work for an accredited program.

        70.      Fewer than ten percent of pharmacy residency positions nationwide are offered by

programs not accredited by ASHP.

        71.      As a condition of acquiring ASHP accreditation, residency programs must adhere

to the ASHP Regulations on Accreditation of Pharmacy Residencies (the “ASHP Accreditation

Regulations”).

        72.      A copy of the ASHP Accreditation Regulations adopted by the ASHP Board of

Directors on September 20, 2024 is attached as Exhibit A.3

        73.      Residency programs agree to the terms of the ASHP Accreditation Regulations as

a condition of becoming accredited by the ASHP.

        74.      Regulation XI(D) of the ASHP Accreditation Regulations provides that “All

postgraduate year one and postgraduate year two residency programs in pre-candidate, candidate,




2
        ASHP, HOW TO START A RESIDENCY PROGRAM, 4 (2015), https://www.ashp.org/-/media/assets/professional-
development/residencies/docs/how-to-start-residency-what-you-really-need-to-know.pdf.
3
        The provisions of the ASHP Accreditation Regulations discussed in this Complaint, as presented in Exhibit
A, were substantively and materially the same at all relevant times.


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conditional accreditation, or accredited status must participate in the Resident Matching Program

conducted by ASHP, unless exempted by the COC [Commission on Credentialing].”

       75.    Exceptions to this requirement are rarely granted. Less than five percent of

accredited programs receive an exemption to the requirement that all programs must participate in

the ASHP Match.

       76.    Regulation XI(D) of the ASHP Accreditation Regulations further states that “all

residency programs must adhere to the ASHP Resident Matching Program Residency Agreement

and Rules for the ASHP Pharmacy Residency Matching Program.”

       77.    Defendant ASHP enforces compliance with the requirements of Regulation XI(D)

through Annual Residency Accreditation Reports and other measures.           Penalties for non-

compliance with Regulation XI(D) may include loss of accreditation as specified by Regulation

XIV(A)(1).

       78.    Regulation XIV(A)(5) of the ASHP Accreditation Regulations specifically

provides that accreditation may be withdrawn from “An accredited program that is required to

participate in the Resident Matching Program and fails to do so.”

       79.    Each Employer Defendant operates at least one accredited pharmacy residency

program and has agreed to be bound to ASHP Accreditation Regulations.

       80.    Each Employer Defendant renews its agreement to be bound by the ASHP

Accreditation Regulations each time it renews its residency programs’ accreditation with

Defendant ASHP. Accreditations are valid for eight years, then must be renewed.




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        81.      Each Employer Defendant further renews its agreement to be bound by the ASHP

Accreditation Regulations each time the ASHP Board of Directors issues a new version of the

ASHP Accreditation Regulations.4

        82.      The ASHP Board of Directors issued the most recent version of the ASHP

Accreditation Regulations on September 20, 2024.

        83.      The September 20, 2024 version of the ASHP Accreditation Regulations

superseded the previous version which the ASHP Board of Directors issued on August 12, 2023.

        84.      As an example, Defendant Johns Hopkins has agreed to be bound by the ASHP

Accreditation Regulations. Defendant Johns Hopkins entered into that agreement as a condition

of operating numerous pharmacy residency programs accredited by Defendant ASHP. Defendant

Johns Hopkins renewed that agreement each time it re-applied for accreditation of its pharmacy

residency programs. Defendant Johns Hopkins further renewed that agreement when Defendant

ASHP issued new versions of the ASHP Accreditation Regulations on August 12, 2023 and

September 20, 2024. Defendant Johns Hopkins entered into each of those agreements from within

the State of Maryland.

                 B.       ASHP Match Program Agreement

        85.      All residency programs participating in the ASHP Match must enter into the

American Society of Health-System Pharmacists Resident Matching Program Residency

Agreement (the “ASHP Match Program Agreement”).




4
          Regulation XIV(A)(1) of the ASHP Accreditation Regulations provides that “In the event that The Standard
is revised, all accredited programs will be expected to meet the revised standard within one year.”




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         86.       As stated in the ASHP Accreditation Regulations, every residency program

accredited by the ASHP must enter into the ASHP Match and agree to the ASHP Match Program

Agreement.

         87.       Residency programs in pre-candidate accreditation status and candidate

accreditation status may also participate in the ASHP Match. In order to do so, they must agree to

the ASHP Match Program Agreement.

         88.       Residency programs enter into the ASHP Match Program Agreement with

Defendant ASHP and with one another. In other words, each Employer Defendant has entered

into the ASHP Match Program Agreement with Defendant ASHP, the other Employer Defendants,

and every other employer of pharmacy residents which participates in the ASHP Match.

         89.       A copy of the ASHP Match Program Agreement is attached to this Complaint as

Exhibit B.5

         90.       Among other provisions, the ASHP Match Program Agreement provides that the

“organization, residency and program(s) agree to”:

                  “Abide by the Rules of the ASHP Pharmacy Resident Matching Program (“ASHP
                   Match Rules”) established by ASHP as shown on the Match website
                   (natmatch.com/ashprmp), which are incorporated by reference in and are an
                   integral part of this Agreement.”

                  “Abide by the Schedule of Dates of the Match as shown on the Match website . . .”

                  “Offer in Phase I of the Match all positions available in the residency . . .”6



5
         The version of the ASHP Match Program Agreement attached as Exhibit B applied to residency programs
offering positions which commenced between June 1, 2024 and December 31, 2024. Previous versions in force during
the time frame applicable to this action included substantively the same provisions.
6
         This requirement exempts “Department of Defense and Public Health Service positions offered exclusively
to commissioned pharmacy officers, positions in Indian Health Service residencies, or positions offered in residencies
outside of the United States that have been exempted by ASHP.” These positions constitute less than ten percent of
the total pharmacy residency positions available in the United States in any given year during the time period
applicable to this action.




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                 “Furthermore, positions left unfilled in Phase I of the Match must be offered in
                  Phase II of the Match, in accordance with ASHP Match Rules.”

                 “Require no commitment from any applicant and make no offer of appointment to
                  any applicant prior to the release of the results for Phase I of the Match, except for
                  PGY2 [Post-Graduate Year 2 or second-year] residency positions that may be
                  committed to PGY1 [first-year] residents in accordance with the Early
                  Commitment Process.”

                 “Furthermore, require no commitment from any applicant and make no offer of
                  appointment to any applicant prior to the release of the results for Phase II of the
                  Match for any position that is offered in Phase I but not filled in Phase I or that is
                  added for Phase II of the Match.”

                 “Offer an appointment to each applicant matched with this residency.”

                 “Contact each applicant matched with this residency in writing within 30 days of
                  the Match results release date for each Phase of the Match, as specified in the ASHP
                  Match Rules.”

                 “Not offer a position to any applicant who was matched elsewhere, or committed
                  elsewhere through the Early Commitment Process, and who has not received a
                  written release from the residency program concerned.”7

        91.       The ASHP Match Program Agreement further provides that “Programs must never

request ranking information from any applicant, and applicants must never request ranking

information from any program. Prior to the release of the Phase II Match results, neither party

(applicant or program) may disclose to the other party any information regarding the positioning

of any applicant or program on a Rank Order List.”

        92.       The process for entering into the ASHP Match Program Agreement is standardized

and routine. The ASHP Match website explains:

        The Residency Program Director of each eligible residency is sent an email with a
        personalized link and instructions to register their residency for the 2025 Match. If
        you have not received a personalized email to register your residency by August
        20, 2024, please contact NMS.


7
        The “Early Commitment Process” allows organizations or health systems that operate both PGY1 and PGY2
pharmacy residency programs and elect to allow their PGY1 residents to commit to one of the organization’s or health
system’s PGY2 residencies.


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          The online registration process must be completed by the Residency Program
          Director and can be started by clicking on the personalized link in the email sent by
          NMS.

          As part of the registration process, the residency must agree to abide by the terms
          of the Residency Agreement, the ASHP Match Rules, and the Schedule of Dates.

          Consult the Program Registration Guide for step-by-step instructions for registering
          for the ASHP Match.8

          93.    A copy of the Program Registration Guide is attached to this Complaint as

Exhibit C.9 As shown there, the Program Registration Guide explains how Residency Program

Directors must register their programs for the ASHP Match. The process involves setting up an

account on the website operated by Defendant NMS and providing certain information about the

residency program.

          94.    As shown in the Program Registration Guide, the fourth mandatory step of

registering a residency program for the ASHP Match is to “Accept the Match Agreement and

Rules.”     The Program Registration Guideline provides: “You must electronically sign the

Residency Agreement for the 2025 ASHP Match. Read the Agreement page carefully, as your

organization, residency and program(s) will be committed to abide by the Agreement once it is

registered.”

          95.    Registration emails for participation in the ASHP Match are sent to Residency

Program Directors in August each year, as stated in the Schedule of Dates on the ASHP Match

website. By early November each year, the list of programs participating in the ASHP Match

becomes publicly available. Therefore, the residency programs (including each of the Employer




8
          “Register for the Match: The 2025 ASHP Match,” https://natmatch.com/ashprmp/programs/register.html
(last accessed March 3, 2025).
9
          Previous versions of the ASHP Match Program Registration Guide in force during the time frame applicable
to this action included substantively the same provisions.


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Defendants) enter into the ASHP Match Program Agreement each year between August and

November.

       96.     Each Employer Defendant has entered into the ASHP Match Program Agreement

between the months of August and November each year in the time frame applicable to this action.

       97.     Defendant NMS invited each Employer Defendant to join the ASHP Match through

personalized emails sent to each Program Director, which contained a link to a website where the

program could manifest assent to the ASHP Match Program Agreement.

       98.     Each Employer Defendant entered into the ASHP Match Program Agreement

through the online portal of the ASHP website between the months of August and November in

each year during the time frame applicable to this action.

       99.     As an example, Defendant Johns Hopkins entered into the ASHP Match Program

Agreement through the online portal of the ASHP website each year during the time frame

applicable to this action between the months of August and November. It did so after its Program

Director received a personalized link and instructions to register for the ASHP Match as described

above. Defendant Johns Hopkins entered into the ASHP Match Program Agreement within the

State of Maryland in each year applicable to this action.

       100.    Defendant ASHP sponsors, oversees, and directs Defendant NMS to send the

personalized email invitations.

       101.    Defendant ASHP further expressly requires as a condition of accreditation that all

residency programs accredited by it participate in the ASHP Match and hire pharmacy residency

exclusively through the ASHP Match.

       102.    The ASHP Match Program Agreement specifically references, incorporates, and

binds its signatories to adhere to the rules governing the ASHP Match.




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                 C.       ASHP Match Rules

        103.     All residency programs accredited by the ASHP, including each Employer

Defendant, must agree to abide by the Rules for the ASHP Pharmacy Resident Matching Programs

(the “ASHP Match Rules”), as specifically required by Regulation XI(D) of the ASHP

Accreditation Regulations.

        104.     The residency programs participating in the ASHP Match, including each

Employer Defendant, agree to the ASHP Match Rules in the same manner by which they agree to

the ASHP Match Program Agreement, as the ASHP Match Rules are expressly incorporated into

the ASHP Match Program Agreement.

        105.     Each Employer Defendant has agreed with one another, Defendant ASHP, and

Defendant NMS to abide by the ASHP Match Rules at the times and in the same manner that they

agreed to the ASHP Match Program Agreement.

        106.     The ASHP Match Rules are binding upon both residency programs and pharmacists

applying for residency positions through the ASHP Match.

        107.     A copy of the ASHP Match Rules in effect as of August 2024 is attached to this

Complaint as Exhibit D.10

        108.     The ASHP Match Rules contain the following provisions:

                “All participants shall abide by all deadlines and their agreements for participation
                 in the Match.”

                “Residency program directors must ensure that all people involved in recruiting or
                 selecting residents understand and adhere to these rules.”

                “Faculty of schools of pharmacy with students interested in participating in the
                 Match for pharmacy residencies are asked to assist in ensuring that their students
                 understand and adhere to these rules.”


10
         Previous versions of the ASHP Match Rules in force during the time frame applicable to this action included
substantively the same provisions.


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             “Violations of these rules or Match agreements by applicants or programs may
              result in sanctions by ASHP or legal action by other Match participants.”

             “Results of the [ASHP Match] constitute binding agreements between applicants
              and residency programs that may not be reversed unilaterally by either party.”

             “Residency programs that receive their Phase I Match results and have one or more
              positions left unfilled must offer those positions to applicants in Phase II of the
              Match.”

             “The only information that persons at the residency may communicate to an
              applicant prior to the release of the results for each Phase of the Match is whether
              or not the applicant remains under consideration for admission.”

             “Applicants may not accept an offer if they have been matched or have already
              accepted an offer from another residency program.”

             “When the program contacts the applicant to confirm the acceptance of the offer,
              the program must also provide general information about the hiring process
              including pre-employment requirements.”

       109.   The ASHP Match Rules further prohibit applicants and residency programs from

sharing information about their Rank Order Lists and provides for disciplinary measures to be

taken against participants who violate the ASHP Match Rules.

              D.     ASHP Match Applicant Agreement

       110.   As a result of the agreements described above, pharmacists wishing to obtain

employment as a pharmacy resident with an accredited residency program must apply through the

ASHP Match.

       111.   In order to participate in the ASHP Match, pharmacists must agree to the American

Society of Health-System Pharmacists Resident Matching Program Applicant Agreement (the

“ASHP Match Applicant Agreement”).




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        112.    A copy of the ASHP Match Applicant Agreement is attached to this Complaint as

Exhibit E.11

        113.    Among other provisions, the ASHP Match Applicant Agreement provides that the

applicant agrees:

               “To abide by the Rules of the ASHP Pharmacy Resident Matching Program
                (“ASHP Match Rules”) as shown on the Match website (natmatch.com/ashprmp),
                which are incorporated by reference in and are an integral part of this Agreement.”

               “To abide by the Schedule of Dates of the Match as shown on the Match website
                (natmatch.com/ashprmp), which is incorporated by reference in and is an integral
                part of this Agreement.”

               “Not to make any commitment to or contract with any program registered for the
                Match prior to the release of the results for Phase I of the Match, except that if I am
                currently a PGY1 resident I may commit to a PGY2 residency position that is
                offered to me in accordance with the Early Commitment Process. Furthermore, if I
                do not obtain a position in Phase I of the Match or through the Early Commitment
                Process, I agree not to make any commitment to or contract with any program
                registered for the Match prior to the release of the results of Phase II of the Match.
                If I choose to accept a position either at a program that is not registered for the
                Match or at a registered program in accordance with the Early Commitment
                Process, or if I decide not to participate in the Match for any other reason, then I
                will submit a withdrawal from the Match, and will not submit a Rank Order List
                for the Match.”

               “To accept appointment to the program with which I am matched. I cannot avoid
                accepting appointment to or attending the program with which I am matched
                without a written release from the program concerned; also, another program
                registered for the Match cannot offer me a position unless I have this release.”

               “If I violate any of the terms of this Agreement or the ASHP Match Rules, such as
                refusing to accept a position at the program with which I have been matched, ASHP
                may pursue all available remedies, including reporting my actions to my school.
                Furthermore, ASHP may impose penalties on me, including barring me from
                participation in future ASHP Resident Matching Programs.”




11
         The version of the ASHP Match Applicant Agreement attached as Exhibit E applied to applicants seeking
positions which began between June 1, 2024 and December 31, 2024. Previous versions in force during the time
frame applicable to this action included substantively the same provisions.


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          114.   Pharmacists may not apply for employment with any accredited residency program

without agreeing to the ASHP Match Applicant Agreement, including, inter alia, the provisions

quoted above.

   III.      Exchange of Resident Compensation Information

          115.   Defendants and their co-conspirators further contract, combine, and conspire to

exchange competitively sensitive information regarding the salaries and employment benefits

offered to pharmacy residents (“Resident Compensation Information”) by each residency program.

          116.   Defendants and their co-conspirators contract, combine, and conspire to exchange

Resident Compensation Information with the purpose and intent of depressing, standardizing, and

stabilizing the salaries and other employment benefits received by resident pharmacists.

          117.   Defendant ASHP maintains a “Residency Directory” which contains Resident

Compensation Information for every accredited residency program.

          118.   The Residency Directory is accessible to every residency program which

participates in the ASHP Match.

          119.   The Residency Directory lists the salaries offered to residents in each accredited

residency program. The salaries are referred to as “stipends” in the Residency Directory.

          120.   The Residency Directory also lists the other employment benefits offered to

residents in each accredited residency program. The other employment benefits are referred to as

“fringe benefits” in the Residency Directory.

          121.   Each Employer Defendant has agreed with one another and with Defendant ASHP

to exchange Resident Compensation Information through the Residency Directory.

          122.   Each Employer Defendant has renewed its agreement with one another and with

Defendant ASHP to exchange Resident Compensation Information in the same manner and at the




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same time that the Employer Defendant agreed to participate in the ASHP Match each year (as

described above).

         123.   Each Employer Defendant renews their agreement with one another and with

Defendant ASHP to exchange Resident Compensation Information in the same manner and at the

same time that they agree to become accredited or renew their residency program’s accreditation

with ASHP (as described above).

         124.   The exchange of Resident Compensation Information allows each of the Employer

Defendants to fix, stabilize, standardize, and suppress pharmacy resident compensation.

         125.   The exchange of Resident Compensation Information allows each of the

Defendants to monitor and police compliance with the fixed, stabilized, standardized, and

suppressed compensation levels resulting from the illegal conspiracy described in this Complaint.

   IV.      Anti-Competitive Effects

         126.   The restraints on trade embodied in the contracts, combination, and conspiracy

described above have anti-competitive effects on the market for the hiring, employment, and

compensation of resident pharmacists.

         127.   The agreements comprising the ASHP Match restrain trade in the market for the

employment of resident pharmacists in the following ways, among others:

               Prohibiting pharmacists from applying for accredited residency positions outside
                of the ASHP Match.

               Prohibiting accredited residency positions from accepting applications for
                pharmacy residency positions outside of the ASHP Match.

               Requiring pharmacists to accept employment with the residency program to which
                they are assigned by the ASHP Match.

               Requiring ASHP Match applicants to agree to accept employment with the
                residency program to which they are matched before they have an opportunity to
                negotiate the terms of their employment;



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                Prohibiting residency programs participating in the ASHP Match from
                 communicating with pharmacists applying for employment through the ASHP
                 Match about any subject besides whether they are still under consideration for the
                 program.

                Prohibiting pharmacists from transferring between residency programs.

                Prohibiting pharmacists from applying for residency programs at times outside of
                 the specific dates established by the ASHP Match.

       128.      Defendants and their co-conspirators further restrain trade in the market for the

hiring, employment, and compensation of resident pharmacists by contracting, combining, and

conspiring to exchange Resident Compensation Information.

       129.      Each of these agreements in restraint of trade has anti-competitive effects on the

market for the employment of pharmacy residents.

       130.      The anti-competitive effects of these restraints are demonstrated by the difference

in salaries and benefits received by pharmacy residents and pharmacists who do not pursue a

residency.

       131.      The average salary for a first-year pharmacy resident is in the range of $50,000 to

$60,000 per year.

       132.      The average salary for a non-resident pharmacist in their first year of employment

after graduation is over $100,000 per year.

       133.      Pharmacy residents are paid about 40% to 50% of what their non-resident

colleagues earn on average, despite having the same qualifications and the same amount of

experience in the field of pharmacy.

       134.      Pharmacy residents also have fewer and inferior other employment benefits than

non-resident pharmacists with their same level of experience. These include more expensive and

inferior health insurance, retirement benefits, and life insurance plans.



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        135.   Pharmacy residents also work longer hours on average than non-resident

pharmacists with the same level of experience, even despite being paid about half as much and

receiving inferior other employment benefits.

        136.   This wide differentiation in compensation between pharmacists with the exact same

level of experience and training is directly and proximately caused by the anti-competitive

restraints imposed by the contracts, combinations and conspiracies entered into by Defendants.

        137.   Each Plaintiff and each member of the Class has been directly and proximately

harmed by suffering suppressed compensation for their employment as a resident pharmacist as a

result of the anti-competitive restraints imposed by Defendants.

        138.   Defendants and their co-conspirators intentionally entered into the contracts,

combinations, and conspiracies described above with the design and purpose of suppressing the

compensation received by pharmacy residents in the relevant market defined below.

   V.      Market Definition

        139.   The relevant antitrust market in this case is the market for the employment

pharmacy residents in the United States.

               A.     Relevant Labor Market

        140.   The product market (or in this case, the labor market) is the market for the

employment of resident pharmacists (the “Relevant Labor Market”).

        141.   The residency programs, including each of the Employer Defendants, are the buyers

in the Relevant Labor Market.

        142.   The resident pharmacists, including Plaintiff and each member of the Class, are the

sellers in the Relevant Labor Market.




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       143.      The Relevant Labor Market is distinct, stable, and insulated from price fluctuations

in potential substitute markets. The distinct qualities of the Relevant Labor Market include:

(1) increased clinical training; (2) reputational enhancements; (3) the ability to obtain later

employment which requires participation in the Relevant Labor Market; and (4) the ability to take

board of pharmacy exams after one year of participating in the Relevant Labor Market compared

to three years in potential substitute markets.

       144.      Pharmacy residency programs are separate and distinct from any post-medical

school residency programs designed for physicians.          The structure of pharmacy residency

programs differs significantly from post-graduate positions for physicians. Following graduation

from medical school, physicians must complete an “internship” followed by a “residency” to

become fully licensed. Some physicians may complete an additional “fellowship” program, which

provides more advanced training. The ASHP Match program does not place pharmacists into

fellowships, nor does it provide matching services to pharmacy fellowship programs seeking

applicants. Further, there are no post-graduate “internships” in the pharmacy field akin to the

internships undertaken by physicians.

       145.      Unaccredited residency programs are also not economic substitutes for accredited

residency programs. As noted above, ASHP accreditation is a de facto requirement for residency

programs. Less than ten percent of all pharmacy residency positions offered by employers in the

United States at any given time relevant to this action were offered by programs not accredited by

Defendant ASHP. Consequently, pharmacy residency programs without ASHP accreditation are

less desirable to pharmacy school graduates than pharmacy residency programs with ASHP

accreditation.




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       146.    General or retail pharmacy positions are also not economic substitutes for

accredited residency programs. Residency experience is required to obtain certain types of

employment as a pharmacist. As noted above, pharmacists can only obtain positions in various

specialized fields of pharmacy (e.g., infectious disease, ambulatory care, emergency medicine,

oncology, and solid organ transplant) after finishing a residency. Obtaining a job as a pharmacist

in a hospital or other clinical setting typically requires residency experience. The same is true for

instructional positions at colleges of pharmacy. Non-residency pharmacy employment does not

provide a pathway to those other, more specialized employment.

       147.    Pharmacists continue to apply for residency positions in the Relevant Labor Market

despite the dramatically lower salaries and benefits than those offered in other potential

employment markets for pharmacists because there are distinct qualities associated with the

Relevant Labor Market.

       148.    The Relevant Labor Market is stable. Since 2020, the number of residency

positions available in the Relevant Labor Market has not changed materially year-over-year. In

each of those years, more pharmacists applied for positions through the ASHP Match than there

were positions available.

       149.    The Relevant Labor Market is insulated from price fluctuations in potential

substitute markets. A small but significant non-transitory decrease (e.g., 5% over a period of one

year) in the salaries of non-resident pharmacists would not cause a decline in the number of

applicants seeking employment in the Relevant Labor Market.




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                 B.     Relevant Geographic Market

          150.   The geographic market for the employment of resident pharmacists is the United

States (the “Relevant Geographic Market”) (together with the Relevant Labor Market, the

“Relevant Market”).

          151.   The accreditation standards for colleges of pharmacy conferring PharmD degrees

is standardized across the United States by the Accreditation Council for Pharmacy Education.

          152.   The accreditation standards for pharmacy residency programs are standardized

throughout the United States by Defendant ASHP.

          153.   The ASHP Match operates only within the geographic boundaries of the United

States.

          154.   To obtain a pharmacy license, pharmacists across the United States must take the

North American Pharmacist Licensure Exam.

          155.   State boards of pharmacy licensure maintain reciprocity programs which permit

license-holders in one state to obtain licensure in another state on an expedited basis.

          156.   Pharmacists seeking employment as residents regularly move across the country

and between states and geographic regions to obtain that employment.

   VI.       Market Power

          157.   Defendants and their co-conspirators, by and through the contracts, combinations,

and conspiracies described in this Complaint, have market power in the Relevant Market.

          158.   In 2024, 5,232 residency positions were offered exclusively through the ASHP

Match.




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        159.      Upon information and belief, fewer than 100 residency positions in unaccredited

(including programs in pre-candidate and candidate accreditation statuses) pharmacy residency

programs were offered nationwide during each of the years applicable to this action.

        160.      Upon information and belief, fewer than 100 accredited residency positions in

residency programs were exempted from participation in the ASHP Match.12

        161.      Defendants and their co-conspirators, collectively, have monopsony power in the

Relevant Market through the operation of the contracts, combinations, and conspiracies described

in this Complaint.

        162.      Defendants and their co-conspirators have exercised this monopsony power in the

Relevant Market to suppress the compensation received by pharmacy residents in exchange for

their labor.

     VII.      Antitrust Injury

        163.      As a direct and proximate result of the actions and omissions of the Defendants and

their co-conspirators, as described in this Complaint (including the operation of the ASHP Match,

the corresponding agreements, and the exchange of Resident Compensation Information), Plaintiff

and all members of the Class suffered substantial losses to their business or property in that their

compensation associated with working as a pharmacy resident was artificially suppressed during

the relevant time period.

     VIII. Continuing Violation

        164.      The violations of the Sherman Act by Defendants are ongoing and continuous.

        165.      Pharmacy residents currently employed by members of the conspiracy, including



12
       The vast majority of accredited programs exempt from participation in the ASHP Match are offered through
the Commissioned Corps of the U.S. Public Health Service, including positions offered in the Indian Health Service.




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the Employer Defendants, are being harmed on a repeated and ongoing basis by the Defendants’

continuing violations of the Sherman Act.

   IX.      Interstate Commerce

         166.   Each of the Defendants is engaged in interstate commerce.

         167.   Defendant ASHP organizes events and conferences in several states and invites

individuals from across state lines to attend those events and conferences. Defendant ASHP has

members in all fifty states and accredits residency programs in nearly every state. Defendant

ASHP accepts and sends payments via interstate wires, distributes published materials in hard copy

and over the internet in every state, and employs individuals in multiple states.

         168.   Defendant NMS transacts business in the United States, including across state lines.

Defendant NMS operates matching programs under contract with professional associations located

across the United States. Those matching programs accept applicants and employer programs

from every state. Defendant NMS sends personnel to each of those various states to transact

business with its clients. Defendant NMS accepts and sends payments via interstate wires and

distributes published materials over the internet in every state, including application fees from the

Plaintiff and each member of the Class.

         169.   Each Employer Defendant transacts business across state lines, including through

the purchase, sale, and delivery of goods and services across state lines; employment of individuals

in different states; and contracting with businesses located in different states.

                               CLASS ACTION ALLEGATIONS

         170.   Pursuant to Federal Rules of Civil Procedure 23(a)(1)-(4), 23(b)(2), 23(b)(3), and

where applicable, 23(c)(4), Plaintiff brings this action on behalf of herself and members of the

“Class” defined as follows:




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               All natural persons in the United States who obtained employment
               as a resident pharmacist through the ASHP Match at any time
               between February 28, 2021 and the date of class certification.

       171.    Excluded from the Class are Defendants’ officers, directors, and employees; any

entity in which any Defendant has a controlling interest; and the affiliates, legal representatives,

attorneys, successors, heirs, and assigns of Defendants. Also excluded from the Class are the

federal government and members of the judiciary to whom this case is assigned, their families, and

members of their staff.

       172.    Plaintiff reserves the right to modify the class definition, including based on

discovery and further investigation.

       173.    The members of the Class are so numerous that their individual joinder is

impracticable. Plaintiff is informed and believes, and thereupon alleges, that the members of the

Class number in the tens of thousands. The precise number of members of the Class and their

identities are unknown to Plaintiff at this time but will be readily determined in discovery,

including by reference to Defendants’ records. Members of the Class may be notified of the

pendency of this action by email, mail and/or publication through the records of Defendants.

       174.    Plaintiff’s claims are typical of the claims of the members of the Class they seek to

represent in that Plaintiff and all members of the Class were injured and sustained damages by

Defendants’ uniform wrongful conduct—namely, Defendants’ entry into agreements in restraint

of trade in the Relevant Market which have suppressed the compensation received by members of

the Class for their labor as resident pharmacists.

       175.    Common questions of law and fact exist as to all members of the Class and

predominate over questions affecting only individual members. Legal and factual questions

common to the Class include, but are not limited to:




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           a. Whether Defendants engaged in the alleged conduct;

           b. Whether the Relevant Market is properly defined;

           c. Whether the Defendants, by and through the conspiracy, contracts, and
              combinations described herein have market power in the Relevant Market;

           d. Whether the restraints on trade described herein have anti-competitive effects;

           e. Whether compensation for resident pharmacists and other terms of employment
              have been fixed, depressed, standardized and/or stabilized at level below those
              which would prevail in a competitive market;

           f. Whether Defendants have illegally contracted, combined, and conspired to control
              the number of pharmacy residency programs in order to illegally create a labor
              surplus;

           g. The amount of damages suffered by members of the Class as a result of the
              Defendants’ illegal restraints;

           h. Whether members of the Class are entitled to equitable relief, including injunctive
              relief;

           i. Whether Defendants are jointly and severally liable for the damages sustained by
              the Plaintiff and the Class;

           j. Whether Plaintiff’s and the Class’s damages should be trebled under the Sherman
              Act.

       176.    Plaintiff is an adequate representative of the Class because Plaintiff’s interests do

not conflict with the interests of the other members of the Class she seeks to represent, she has

retained competent counsel experienced in antitrust matters and prosecuting class actions, and she

intends to prosecute this action vigorously. The interests of the members of the Class will be fairly

and adequately protected by Plaintiff and her counsel.

       177.    The class mechanism is superior to other available means for the fair and efficient

adjudication of the claims of members of the Class. Each individual member of the Class may

lack the resources to undergo the burden and expense of individual prosecution of the complex

and extensive litigation necessary to establish Defendants’ liability. Individualized litigation



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increases the delay and expense to all parties and multiplies the burden on the judicial system

presented by the complex legal and factual issues of this case. Individualized litigation also

presents the potential for inconsistent or contradictory judgments. In contrast, the class action

device presents far fewer management difficulties and provides the benefits of single adjudication,

economy of scale, and comprehensive supervision by a single court on the issue of Defendants’

liability. Class treatment of liability issues will ensure that all claims and claimants are before this

Court for consistent adjudication of such issues.

                                 FIRST CLAIM FOR RELIEF
                               Agreements in Restraint of Trade
                   Violation of Section 1 of the Sherman Act, 15 U.S.C. §1
              (By Plaintiff, Individually and on Behalf of Members of the Class,
                                    Against All Defendants)

       178.    Plaintiff, individually and on behalf of the Class, incorporates and repeats the

 allegations contained in the foregoing paragraphs.

       179.    Defendants have contracted, combined, and conspired to unreasonably restrain

 interstate trade and commerce in violation of Section 1 of the Sherman Act, 15 U.S.C. §1.

       180.    The contact, combination, and conspiracy alleged in this Complaint consists of a

 continuing agreement, understanding, and concert of action among Defendants to restrain

 competition in the recruitment, hiring, employment, and compensation of resident pharmacists.

       181.    Defendants and their co-conspirators have agreed between and amongst themselves

 to restrain the aforesaid competition by entering into agreements, both express and implicit,

 designed to accomplish those ends, including but not limited to the agreements to adhere to the

 ASHP Regulations on Accreditation of Pharmacy Residencies, the ASHP Match Program

 Agreement, and ASHP Match Rules, as well as to impose the ASHP Match Applicant Agreement

 upon all individuals seeking employment as resident pharmacists through the ASHP Match.




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      182.     Defendants and their co-conspirators illegally restrain competition in several

related ways, including but not limited to:

              Requiring all applicants to accredited pharmacy residency programs to apply
               through the ASHP Match;

              Requiring ASHP Match applicants to agree to accept employment with the
               residency program to which they are matched before they have an opportunity to
               negotiate the terms of their employment;

              Prohibiting residency programs participating in the ASHP Match from
               communicating with pharmacists applying for employment through the ASHP
               Match about any subject besides whether they are still under consideration for the
               program;

              Prohibiting pharmacists from transferring between residency programs.

              Prohibiting pharmacists from applying for residency programs at times outside of
               the specific dates established by the ASHP Match.

      183.     The illegal restraints alleged in this Complaint have the purpose and effect of

artificially fixing, depressing, standardizing, and stabilizing resident pharmacist compensation

and other terms of employment.

      184.     The restraints on competition alleged in this Complaint are per se illegal under the

Sherman Act.

      185.     The Employer Defendants are horizontal competitors in the Relevant Market for

the hiring, employment, and compensation of resident pharmacists.

      186.     The Employer Defendants have agreed with one another to restrain competition for

the hiring, employment, and compensation of resident pharmacists in the manners described in

this Complaint.

      187.     Alternatively, the restraints on competition alleged in this Complaint are illegal

under either a “quick look” or rule of reason analysis because they are facially anti-competitive

with no valid procompetitive justifications. Moreover, even if there were valid procompetitive



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justifications, such justifications could have been reasonably achieved through means less

restrictive of competition.

       188.     Each Defendant has participated in one or more overt acts in furtherance of the

alleged contract, combination and conspiracy and has participated in the conspiratorial activities

described in this Complaint.

       189.     Plaintiff and each member of the Class were injured by the illegal restraints alleged

in this Complaint. Among other things, Plaintiff and the members of the Class were compensated

substantially less than they would have been in the absence of the illegal restraints. Plaintiff and

each member of the Class have sustained substantial losses and damages to their business and

property due to the illegal restraints.

                                   SECOND CLAIM FOR RELIEF
                          Exchange of Competitively-Sensitive Information
                       Violation of Section 1 of the Sherman Act, 15 U.S.C. §1
                  (By Plaintiff, Individually and on Behalf of Members of the Class,
                                        Against All Defendants)

       190.     Plaintiff, individually and on behalf of the Class, incorporates and repeats the

allegations contained in the foregoing paragraphs.

       191.     Defendants and their co-conspirators have contracted, combined, and conspired to

unreasonably restrain interstate trade and commerce in violation of Section 1 of the Sherman Act,

15 U.S.C. §1.

       192.     The contact, combination, and conspiracy alleged in this Complaint consists of a

continuing agreement, understanding, and concert of action among Defendants to restrain

competition in the recruitment, hiring, employment, and compensation of resident pharmacists.

       193.     Defendants and their co-conspirators have agreed between and amongst themselves

to restrain the aforesaid competition by entering into agreements, both express and implicit,




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designed to accomplish those ends, including but not limited to agreements to exchange Resident

Compensation Information.

       194.    This information exchange has been undertaken in furtherance of a price fixing

agreement, which is unlawful per se.

       195.    Defendants’ information exchange is also unlawful under either a “quick look” or

rule of reason analysis because the exchange is facially anti-competitive with no valid

procompetitive justifications. Moreover, even if there were valid procompetitive justifications,

such justifications could have been reasonably achieved through means less restrictive of

competition.

       196.    Each Defendant has participated in one or more overt acts in furtherance of the

information exchange.

       197.    Plaintiff and each member of the Class were injured by the information exchange

alleged in this Complaint. Among other things, Plaintiff and the members of the Class were

compensated substantially less than they would have been in the absence of the information

exchange. Plaintiff and each member of the Class have sustained substantial losses and damages

to their business and property due to the illegal information exchange.

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff, individually and on behalf of the members of the Class, seeks a

judgment against Defendants as follows:

       A.      For an order certifying the Class pursuant to Federal Rule of Civil Procedure 23

and naming Plaintiff as representative of the Class and Plaintiff’s undersigned attorneys as counsel

to represent the Class;




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       B.      For an order enjoining all aspects of Defendants’ continuing violation of Section 1

of the Sherman Act pursuant to Section 16 of the Clayton Act, 15 U.S.C. §26;

       C.      For an order entering judgment in favor of Plaintiff and the members of the Class

against Defendants on the claim for relief stated in this Complaint;

       D.      For an order awarding Plaintiff and the Class three times their actual damages

against Defendants, jointly and severally, for their violation of Section 1 of the Sherman Act set

forth in this Complaint;

       E.      For an order awarding pre- and post-judgment interest; and

       F.      For an award of attorneys’ fees, costs and expenses to Plaintiff’s counsel.

       G.      For an order granting all such relief that the Court deems just and proper.

                                DEMAND FOR JURY TRIAL

       Plaintiff, on behalf of herself and members of the Class, hereby demands a trial by jury

pursuant to Federal Rule of Civil Procedure 38(b) on all claims and issues so triable.




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Dated: March 4, 2025               Respectfully submitted,

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                                   Counsel for Plaintiff and the Proposed Class




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